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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

United States of America,

        Plaintiff,
                                                    Criminal No. 19-mj-30227
v.

Robert Jack,

        Defendant.



     STIPULATION FOR ADJOURNMENT OF PRELIMINARY HEARING
          AND FOR EXTENSION OF TIME IN WHICH TO INDICT



       The United States of America and defendant, Robert Jack, hereby stipulate

and agree to the following:

       1.   On June 13, 2019, he made his initial appearance on the Complaint.

       2.   The parties are engaged in pre-indictment plea negotiations and the

parties desire to continue plea negotiations through at least January 31, 2020. The

parties agree that this constitutes good cause for an adjournment of the preliminary

hearing, taking into account the public interest in the prompt disposition of criminal

cases. See Fed. R. Crim. P. 5.1(d)

       WHEREFORE, the parties request this Court to (1) adjourn the preliminary

hearing from November 8, 2019 through January 31, 2020, and (2) make findings

concerning excludable delay in accordance with this stipulation.
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MATTHEW SCHNEIDER
Acting United States Attorney


/s/ Timothy Wyse                         s/ S. Allen Early with consent
Timothy Wyse                             S. Allen Early with consent
Assistant United States Attorney         Attorney for Defendant
211 W. Fort Street, Suite 2001           607 Shelby Street , Suite 425,
Detroit, MI 48226                        Detroit, MI 48226
Timothy.Wyse@usdoj.gov                   313-962-2320
(313) 226-9144


Dated: November 4, 2019




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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN

United States of America,

         Plaintiff,
                                                      Criminal No. 19-mj-30227
v.

Robert Jack,

         Defendant.



     ORDER ADJOURNING PRELIMINARY HEARING AND EXTENDING
                   TIME IN WHICH TO INDICT



      This matter coming before the Court on the stipulation of the government and

defendant Robert Jack, for the reasons stated in the stipulation, the Court

      (1) finds that the parties have been engaged in and will continue to be engaged

in pre-indictment plea negotiations from November 8, 2019 through January 31,

2020;

      (2) finds that this constitutes good cause for the adjournment of the

preliminary hearing, taking into account the public interest in the prompt

disposition of criminal cases, see Fed. R. Crim. P. 5.1(d);

      (3) adjourns the preliminary hearing in this case from November 8, 2019

through January 31, 2020;
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   (4) And that the period from November 8, 2019 through January 31, 2020,

should be excluded in calculating the time within which an indictment or

information must be filed under the Speedy Trial Act, 18 U.S.C. § 3161(b).


                                            s/Elizabeth A. Stafford
                                            Elizabeth A. Stafford
Date: November 5, 2019                      United States Magistrate Judge




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